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                        EXHIBIT 5
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                               1   LAWYERS’ COMMITTEE FOR CIVIL
                                   RIGHTS OF THE SAN FRANCISCO BAY AREA
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                               7
                                   Attorneys for Plaintiffs
                               8

                               9   Additional Counsel Below

                          10                                    UNITED STATES DISTRICT COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA
                          11                                         OAKLAND DIVISION
                          12       COALITION ON HOMELESSNESS; TORO                      CASE NO. 4:22-cv-05502-DMR
                          13       CASTAÑO, SARAH CRONK, JOSHUA
                                   DONOHOE, MOLIQUE FRANK, DAVID                        DECLARATION OF TORO CASTAÑO
                          14       MARTINEZ, TERESA SANDOVAL,                           IN SUPPORT OF THE REPLY IN
                                   NATHANIEL VAUGHN                                     SUPPORT OF PLAINTIFFS’ MOTION
                          15                                                            FOR PRELIMINARY INJUNCTION
                                                          Plaintiffs.
                          16                 v.                                         Judge:         The Hon. Donna M. Ryu
                          17       CITY AND COUNTY OF SAN FRANCISCO,
                                                                                        Hearing Date: December 22, 2022
                                   SAN FRANCISCO POLICE DEPARTMENT,
                          18                                                            Time:         1:00 p.m.
                                   SAN FRANCISCO DEPARTMENT OF
                                                                                        Place:        Courtroom 4 – 3rd Floor
                          19       PUBLIC WORKS, SAN FRANCISCO
                                   DEPARTMENT OF HOMELESSNESS AND                                     1301 Clay Street
                          20       SUPPORTIVE HOUSING, SAN FRANCISCO                                  Oakland, CA 94612
                                   FIRE DEPARTMENT, SAN FRANCISCO
                          21       DEPARTMENT OF EMERGENCY
                                   MANAGEMENT, LONDON BREED, in her
                          22
                                   official capacity as Mayor, SAM DODGE, in his
                          23       official capacity as Director of the Healthy
                                   Streets Operation Center (HSOC),
                          24
                                                         Defendants.
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LATHAM&WATKINScc•                                                        CASTAÑO DECLARATION
   A T TOR N E Y S A T L A W
     S A N F R A N C ISC O                                              CASE NO. 4:22-CV-05502-DMR
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LATHAM&WATKINScc•                                                     CASTAÑO DECLARATION
   A T TOR N E Y S A T L A W
     S A N F R A N C ISC O                                           CASE NO. 4:22-CV-05502-DMR
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                               1                              DECLARATION OF TORO CASTAÑO
                               2       I, Toro Castaño, hereby declare pursuant to 28 U.S.C. § 1746:

                               3       1.        My name is Toro Castaño, and I am 51 years old. All facts set forth in this
                                    declaration are based upon my personal knowledge, and, if called upon to testify as to the truth
                               4
                                    of these facts, I could and would competently do so.
                               5
                                       2.        I am a named plaintiff in the above-titled case. I recently lost my housing, so am
                               6    currently unsheltered once more. I am working on applying to teaching jobs and am actively
                               7    searching for a new housing placement. However, at present, I am currently unsheltered.
                               8   Recent Harassment by the City While Homeless

                               9       3.        Over the past two weeks, I have suffered repeated harassment at the hands of the
                                    City. Throughout this time, I have been staying in various locations around the Castro district
                          10
                                    with several other people.
                          11
                                       4.        Every day at about 9:00 AM, except for the past two days, SFPD officers have
                          12        woken us up and ask us to pack up and move.
                          13           5.        For example, on Sunday, October 30, 2022, while we were staying along Prosper
                          14        Street, SFPD approached us four times over the course of the evening.

                          15           6.        On Monday, October 31, 2022, it was raining most of the day, and we were staying
                                    near the Castro theater. Once the sun came out around 2 PM, SFPD officers approached and
                          16
                                    asked us to pack up and move.
                          17
                                       7.        On Friday, November 4, 2022, in the afternoon, while I was staying on Prosper
                          18
                                    Street, about eight officers, two at a time, approached us in the early afternoon. They told us to
                          19        move and ordered us not to return to several different areas in the Castro district. They stood
                          20        around us and waited for us to pack up and move.
                          21           8.        HOT has not been present during these interactions, and SFPD has not offered us
                                    any form of shelter.
                          22
                                       9.        We never receive notice that SFPD will be coming by and telling us to move. They
                          23
                                    just arrive in the morning and wake us up, telling us it is time to pack up and leave. They have
                          24
                                    told us that we could get arrested if we fail to move in time.
                          25        Reflections on the City’s Conduct
                          26           10.       It is difficult to have to pack up and move every day. It only adds to the instability
                          27        of being unhoused. This disruption, especially in my sleep and time, has made it that much

                          28        more challenging to search for employment and housing.
                                                                                     1
LATHAM&WATKINScc•                                                      CASTAÑO DECLARATION
   A T TOR N E Y S A T L A W
     S A N F R A N C ISC O                                            CASE NO. 4:22-CV-05502-DMR
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                               1

                               2

                               3    I have reviewed the information contained in this declaration. I declare under the penalties
                                    of perjury that the contents are true and correct to the best of my knowledge.
                               4
                                    Executed on: November 4, 2022
                               5
                                                                                   _________________
                               6
                                                                                   Toro Castaño
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                                                                  CASTAÑO DECLARATION
     S A N F R A N C ISC O                                       CASE NO. 4:22-CV-05502-DMR
